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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

 BIENVENIDO FRANCO, Individually and on
                                     )
 Behalf of All Others Similarly Situated,
                                     )
                                     )
      Plaintiffs,                    )                       Civ. No.: 07 CV 3956
 v.                                  )                             (JS/AKT)
                                     )
 IDEAL MORTGAGE BANKERS, LTD. d/b/a )
 LEND AMERICA, INC., MICHAEL ASHLEY, )
 TIMOTHY MAYETTE, HELENE DECILLIS, )
 MICHAEL PRIMEAU,                    )
                                     )
      Defendants.                    )

                                    CONSENT JUDGMENT

        NOW COME Plaintiff BIENVENIDO FRANCO, Individually and on Behalf of All

 Others Similarly Situated and Defendant MICHAEL ASHLEY, and hereby state and agree as

 follows:

        1.      Plaintiff, on behalf of himself and 302 loan officers who have filed opt-consent

 forms (“Plaintiffs”) asserts claims for unpaid regular and overtime wages for violations of the

 Fair Labor Standards Act, 29 U.S.C. 201, et seq. (“FLSA”) under a three-year statute of

 limitations.

        2.      The Parties hereby agree to entry of a consent judgment as follows: Judgment is

 hereby entered against Defendant Michael Ashley and in favor of Plaintiffs for their claims for

 unpaid regular and overtime wages for violations of the Fair Labor Standards Act, 29 U.S.C.

 201, et seq. (“FLSA”) in the sum of $15,200,000.00 under a three-year statute of limitations.



 Dated: November 30, 2017                     Respectfully Submitted,

                                              /s/ James B. Zouras__________
                                              James B. Zouras


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                                     COUNSEL FOR MICHAEL ASHLEY




 Dated: _______, 2017                So Ordered:

                                     ____________________
                                     Joanna Seybert, U.S.D.J.




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